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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.    3:17-cv-00939-WHA
19                        Plaintiff,                      DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
20          v.                                            OTTOMOTTO LLC’S
                                                          ADMINISTRATIVE MOTION TO
21   UBER TECHNOLOGIES, INC.,                             FILE UNDER SEAL PORTIONS OF
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    THEIR MOTION TO COMPEL
22                                                        30(B)(6) TOPICS AND EXHIBITS
                          Defendants.                     THERETO
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     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3816350
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 1           Pursuant to Civil Local Rules 7-11 and 79-5, Defendants Uber Technologies, Inc. and

 2   Ottomotto LLC (“Defendants”) submit this motion for an order to file under seal portions of their

 3   Motion to Compel 30(b)(6) Topics and exhibits thereto. Specifically, Defendants request an

 4   order granting leave to file under seal the confidential portions of the following documents:

 5
     Document                         Portions to Be Filed Under Seal            Designating Party
 6
     Motion to Compel 30(b)(6)              Highlighted Portions                  Plaintiff (green)
 7   Topics (“Motion”)
 8
     Declaration of Esther                  Highlighted Portions                  Plaintiff (green)
 9   Chang
10   Exhibits 1, 6, 7 & 8                   Highlighted Portions                  Plaintiff (green)
11   Exhibits 2-5 & 9-12                          Entireties                          Plaintiff
12

13           The green-highlighted portions of the Motion, the Declaration of Esther Chang, and

14   Exhibits 1, 6, 7 & 8, as well as the entireties of Exhibits 2-5 & 9-12 contain information that has

15   been designated “Highly Confidential – Attorneys’ Eyes Only” by Waymo in accordance with the

16   Patent Local Rule 2-2 Interim Model Protective Order (“Protective Order”), which the parties

17   have agreed governs this case (Transcript of 3/16/2017 Hearing, page 6). Defendants file this

18   material under seal in accordance with Paragraph 14.4 of the Protective Order. (Declaration of

19   Michelle Yang in Support of Defendants’ Administrative Motion to File Documents Under Seal,

20   ¶ 3.)

21           Pursuant to Civil Local Rule 79-5(d)(2), Defendants will lodge with the Clerk the

22   documents at issue, with accompanying chamber copies.

23           Defendants served Waymo with this Administrative Motion to File Documents Under

24   Seal on August 20, 2017.

25           For the foregoing reasons, Defendants request that the Court enter the accompanying

26   Proposed Order granting Defendants’ Administrative Motion to File Documents Under Seal and

27   designate the service copies of these documents as “HIGHLY CONFIDENTIAL –

28   ATTORNEYS’ EYES ONLY.”

     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1   Dated: August 20, 2017                      MORRISON & FOERSTER LLP

 2
                                                 By: /s/Arturo J. González
 3
                                                       ARTURO J. GONZÁLEZ
 4
                                                        Attorneys for Defendants
 5                                                      UBER TECHNOLOGIES, INC.,
                                                        OTTOMOTTO LLC, and OTTO
 6                                                      TRUCKING LLC

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     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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